Case 2:20-cv-00902-ES-MAH Document1 Filed 01/28/20 Page 1 of 10 PagelD: 1

UNITED STATES DISTRICT COURT
DISTRICT COURT OF NEW JERSEY

 

X
ROGELIO QUIROZ, on behalf of himself and all :
others similarly situated,
Plaintiff,
-against- : COMPLAINT

SHALIMAR SWEETS & RESTAURANT, KING OF _ :

SWEETS CORP. d/b/a SHALIMAR : COLLECTIVE ACTION
RESTAURANT AND SWEETS, MOHAMMAD

LATIF a/k/a SETH LATIF, ABID LATIF, and

ZAHID LATIF,

Defendants. :
xX
Plaintiff Rogelio Quiroz (“Quiroz” or “Plaintiff’), on behalf of himself and all

 

others similarly situated, by his attorneys Pechman Law Group PLLC, complaining of
Shalimar Sweets & Restaurant, King of Sweets Corp. d/b/a Shalimar Restaurant and
Sweets (“Shalimar”), Mohammad Latif a/k/a Seth Latif, Abid Latif, and Zahid Latif
(collectively with Shalimar, “Defendants” ) alleges:

NATURE OF THE COMPLAINT

1. While employed as a dishwasher and porter at Shalimar Restaurant and
Sweets, Quiroz regularly worked 72 to 78 hours per workweek. Throughout his
employment, Quiroz was paid at a weekly salary rate that did not compensate him for
overtime hours worked.

2. Quiroz, on behalf of himself and all others similarly situated, brings this
action to recover unpaid overtime wages, liquidated damages, pre- and post-judgment
interest, and attorneys’ fees and costs pursuant to the Fair Labor Standards Act, 29 U.S.C.
§ 201 et seq. (“FLSA”), and the New Jersey Wage and Hour Law, N_J.S.A. 34:11-56a et seq.
and N.J.A.C 12:56 et seq. (“NJWHL”).
Case 2:20-cv-00902-ES-MAH Document1 Filed 01/28/20 Page 2 of 10 PagelD: 2

JURISDICTION
3. This Court has subject matter jurisdiction of this case pursuant to
29 U.S.C. § 216(b), 28 U.S.C. §§ 1331 and 1337, and has supplemental jurisdiction over
Plaintiff's claims under the NJWHL pursuant to 28 U.S.C. § 1367.
VENUE
4. Venue is proper in the District of New Jersey under 28 U.S.C. § 1391, as

Shalimar is located in the District of New Jersey.

THE PARTIES
Plaintiff Rogelio Quiroz
5. Quiroz resides in Middlesex County, New Jersey.
6. Defendants employed Quiroz as a dishwasher and porter from in or about

March 2012 until August 2019.
Shalimar Sweets & Restaurant, King of Sweets Corp.

7. Defendant Shalimar is a New Jersey corporation that operates as Shalimar

Sweets and Restaurant and is located at 1335 Oak Tree Road, Iselin, NJ 08830.

8. Shalimar is an “enterprise engaged in interstate commerce” within the
meaning of the FLSA.
9. Shalimar has employees engaged in commerce or in the production of

goods for commerce and handling, selling, or otherwise working on goods or materials
that have been moved in or produced for commerce by any person.

10. Within the three years prior to the filing of this Complaint, Shalimar had an
annual gross volume of sales in excess of $500,000.
Defendant Mohammad Latif

11. Defendant Mohammad Latif owns and operates Shalimar.

12. Mohammad Latif is also known as Seth Latif.
Case 2:20-cv-00902-ES-MAH Document1 Filed 01/28/20 Page 3 of 10 PagelD: 3

13. Throughout Quiroz’s employment, Mohammad Latif hired and fired
employees at Shalimar.

14. Throughout Quiroz’s employment, Mohammad Latif was regularly present
at Shalimar directing the manner in which employees performed their daily duties and
assignments.

15. For example, Mohammad Latif regularly directed Quiroz to clean areas of
the restaurant.

16. Mohammad Latif exercised sufficient control over the operations of
Shalimar to be considered Quiroz’s employer under the FLSA and NJWHL.

Defendant Abid Latif

17. Defendant Abid Latif owns and operates Shalimar.

18. Throughout Quiroz’s employment, Abid Latif hired and fired employees at
Shalimar.

19. Throughout Quiroz’s employment, Abid Latif was regularly present at
Shalimar directing the manner in which employees performed their daily duties and
assignments.

20. For example, along with Zahid Latif, Abid Latif hired Quiroz in 2012.

21. Abid Latif established and implemented the work and pay practices and
scheduling policies at Shalimar.

22. For example, along with Zahid Latif, Abid Latif would regularly give
Quiroz his wages.

23. Abid Latif exercised sufficient control over the operations of Shalimar to be
considered Quiroz’s employer under the FLSA and NJWHL.

Defendant Zahid Latif

24. Defendant Zahid Latif owns and operates Shalimar.
Case 2:20-cv-00902-ES-MAH Document1 Filed 01/28/20 Page 4 of 10 PagelD: 4

25. Throughout Quiroz’s employment, Zahid Latif hired and fired employees
at Shalimar.

26. Throughout Quiroz’s employment, Zahid Latif was regularly present at
Shalimar directing the manner in which employees performed their daily duties and
assignments.

27. For example, during the last week that Quiroz worked at Shalimar, Zahid
Latif directed him to clean the bathroom in the upstairs office.

28. Zahid Latif established and implemented the work and pay practices and
scheduling policies at Shalimar.

29. For example, Zahid Latif denied Quiroz’s request to take time off to see a
doctor in or about August 2019.

30. In addition, whenever Quiroz’s wages were short, Quiroz spoke to Zahid
Latif, who would say that he could not pay Quiroz if his name was not on the list of
people who worked each day.

31. Zahid Latif exercised sufficient control over the operations of Shalimar to
be considered Quiroz’s employer under the FLSA and NJWHL.

PLAINTIFF’S FACTUAL ALLEGATIONS

32. Shalimar is open for business Monday through Friday from 10:00 a.m. until
12:00 a.m. and Saturday and Sunday from 8:00 a.m. until 12:00 a.m.

33. | Asadishwasher and porter at Shalimar, Quiroz washed chafing dishes and
other containers, cleaned the grill, mopped and swept the two restaurant areas, broke
down boxes, took out the trash, and performed other custodial tasks.

34. Throughout his employment Quiroz would start his duties while the
restaurant was still open and would continue to clean after the business closed at

midnight each night.
Case 2:20-cv-00902-ES-MAH Document1 Filed 01/28/20 Page 5 of 10 PagelD: 5

35. From approximately 2014 until the end of his employment in August 2019,
Quiroz regularly worked a six-day schedule: Tuesday through Sunday from 7:00 p.m.
until 7:00 a.m., for an approximate total of 72 hours per workweek.

36. Throughout this period, during South Asian holiday seasons, Quiroz
regularly came in early, at 6:00 p.m., and worked approximately 78 hours on those
workweeks.

37. Approximately once a month, Quiroz would take an additional day off and
work a five-day week.

38. From approximately 2014 to July 2019, Defendants paid Quiroz a weekly
salary of $450.

39. | Throughout this period, if Quiroz worked five days, Defendants paid him
a salary of $375.

40. From approximately July 2019 to the end of his employment in August 2019,
Defendants paid Quiroz a weekly salary of $600.

41. Throughout this period, if Quiroz worked five days, Defendants paid him
a salary of $500.

42. Throughout Quiroz’s employment, Shalimar did not have a time keeping
system.

43. Throughout Quiroz’s employment, an employee named Komal would keep
a record of who was present each day.

44. Approximately once every two months throughout Quiroz’s employment
at Shalimar, Defendants would erroneously pay him for five days instead of six.

45. For example, Defendants paid Quiroz $500 for his last week of work in
August 2019, even though he worked six days that week and worked approximately 72

hours.
Case 2:20-cv-00902-ES-MAH Document1 Filed 01/28/20 Page 6 of 10 PagelD: 6

COLLECTIVE ACTION ALLEGATIONS

46. Plaintiff brings the claims in this Complaint arising out of the FLSA on
behalf of himself and on behalf of all other non-exempt back of the house workers (the
“Kitchen Workers”) of Shalimar who elect to opt-in to this action (the “FLSA Collective”).

47. The FLSA Collective consists of approximately twenty-five similarly
situated current and former Kitchen Workers of Shalimar, who, over the last three years
have been victims of Defendants’ common policy and practices that have violated the
employees’ rights under the FLSA by, inter alia, willfully denying them overtime wages
due under the FLSA.

48. Defendants apply the same employment policies, practices, and procedures
to all non-exempt employees. This policy and pattern or practice includes, inter alia,
failing to pay Plaintiff and the FLSA Collective overtime wages for all hours worked in
excess of forty per week.

49. Defendants have engaged in this unlawful conduct pursuant to a policy,
plan, or practice of minimizing labor costs and denying employees compensation by
failing to compensate Plaintiff and the FLSA collective for all hours they have worked.

50. Defendants are aware or should have been aware that federal law required
them to pay Plaintiff and the FLSA Collective overtime premiums for all hours worked
in excess of forty per workweek.

51. Defendants’ unlawful conduct has been widespread, repeated, and
consistent among the Kitchen Workers of Shalimar, including Plaintiff.

52. There are approximately 25 similarly situated current and former Kitchen
Workers who have been denied overtime compensation in violation of the FLSA, who

would benefit from the issuance of a court-supervised notice of this lawsuit and the
Case 2:20-cv-00902-ES-MAH Document1 Filed 01/28/20 Page 7 of 10 PagelD: 7

opportunity to join it. This notice should be sent to the FLSA Collective pursuant to 29
U.S.C. § 216(b).

53. | Throughout his employment, Quiroz observed that there were other non-
exempt back-of-the-house employees who also worked approximately 72 hours per
workweek and were also paid on a weekly salary basis.

54. Those similarly situated employees are known to Defendants, are readily
identifiable, and can be located through Defendants’ records.

FIRST CLAIM
Fair Labor Standards Act - Unpaid Overtime

55. Plaintiff repeats and realleges all foregoing paragraphs as if fully set forth
herein.

56. Defendants were required to pay Plaintiff and the FLSA Collective one and
one-half (144) times their regular rate of pay for all hours they worked in excess of forty
hours in a workweek pursuant to the overtime wage provisions set forth in the FLSA, 29
U.S.C. § 207, et. seq.

57. Defendants failed to pay Plaintiff and the FLSA Collective the overtime
wages to which they were entitled to under the FLSA.

58. Defendants have willfully violated the FLSA by knowingly and
intentionally failing to pay Plaintiff and the FLSA Collective overtime wages.

59. Defendants were aware or should have been aware that the practices
described in this Complaint were unlawful and have not made a good faith effort to
comply with the FLSA with respect to the compensation of Plaintiff and the FLSA
Collective.

60. Defendants’ violations of the FLSA described above have been willful and,
therefore, a three-year statute of limitations applies to the matter, pursuant to the FLSA,

29 U.S.C. § 255(a).
Case 2:20-cv-00902-ES-MAH Document1 Filed 01/28/20 Page 8 of 10 PagelD: 8

61. Due to Defendants’ violations of the FLSA, Plaintiff and the FLSA
Collective are entitled to recover unpaid overtime wages, liquidated damages, reasonable

attorneys’ fees and costs of the action, and post-judgment interest.

SECOND CLAIM
New Jersey Wage and Hour Law - Unpaid Overtime

62. Plaintiff repeats and realleges all foregoing paragraphs as if fully set forth
herein.

63. Under the NJWHL and supporting New Jersey Department of Labor
Regulations, Defendants were required to pay Plaintiff and the Kitchen Workers who
opt-in to this action one and one (1%) half times their regular rate of pay for all hours
worked in excess of forty.

64. | Defendants have failed to pay Plaintiff and the Kitchen Workers who opt-
in to this action the overtime wages to which they are entitled to under the NJWHL.

65. Defendants have willfully violated the NJWHL by knowingly and
intentionally failing to pay Plaintiff and the Kitchen Workers who opt-in to this action
overtime wages.

66. Due to Defendants’ willful violations of the NJWHL, Plaintiff and the
Kitchen Workers who opt-in to this action are entitled to recover unpaid overtime wages,
reasonable attorneys’ fees and costs, liquidated damages, and pre- and post-judgment
interest.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated,
seeks the following relief:

A. That, at the earliest possible time, Plaintiff be allowed to give notice of this
collective action, or that the Court issue such notice, to all non-exempt Kitchen Workers
who are presently working, or who have worked, at any time during the three years

8
Case 2:20-cv-00902-ES-MAH Document1 Filed 01/28/20 Page 9 of 10 PagelD: 9

immediately preceding the filing of this suit, up through and including the date of this
Court's issuance of court-supervised notice, at Shalimar. Such notice shall inform them that
this civil action has been filed, of the nature of the action, and of their right to join this lawsuit
if they believe they were denied proper wages;

B. Designation of Plaintiff as representative for the FLSA Collective;

C. Designation of counsel as counsel for the FLSA Collective;

D. Award of unpaid overtime wages, and an additional and equal amount as
liquidated damages pursuant to the FLSA;

E. Award of unpaid overtime wages, pursuant to N.J.S.A. § 34:11-56a et seq.
and the supporting New Jersey Department of Labor and Workforce Development
Regulations;

F, Award pre- and post-judgment interest;

G. | Award reasonable attorneys’ fees and costs of the action; and

   

H. | Award such other relief as this Court deems just an

Dated: New York, New York
January 28, 2020

 

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Putative FLSA Collective
Case 2:20-cv-00902-ES-MAH Document1 Filed 01/28/20 Page 10 of 10 PagelD: 10

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H. | Award such other relief as this Court deems just an

Dated: New York, New York
January 28, 2020

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